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    14                        UNITED STATES DISTRICT COURT
    15                      CENTRAL DISTRICT OF CALIFORNIA
    16
    17   In re: KIA HYUNDAI VEHICLE            Case No. 8:22-ML-3052-JVS(KESx)
         THEFT MARKETING, SALES
    18   PRACTICES, AND PRODUCTS               The Honorable James V. Selna
         LIABILITY LITIGATION
    19                                         DEFENDANTS’ OPPOSITION TO
                                               PLAINTIFFS’ MOTION TO REMAND
    20
    21
                                               Hearing Date: June 8, 2023
    22   This document relates to:
    23   Sanders v. Kia America, Inc.,
         Case No. 8:23-CV-00486
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     1                                      INTRODUCTION
     2            After filing a consumer class action that wholly subsumes Plaintiffs’ claims
     3   and actively participating in an ongoing MDL, Plaintiffs’ counsel chose to file a
     4   near-identical lawsuit—artfully styled as a mass tort action—in California state court
     5   against Defendants Kia America, Inc. and Hyundai Motor America (together,
     6   “Defendants”).1 This action is a transparent attempt by Plaintiffs’ counsel to skirt
     7   federal jurisdiction, avoid the centralized MDL proceedings already before this
     8   Court, drain judicial resources, and create duplicative paths for Plaintiffs—and
     9   therefore Plaintiffs’ counsel—to recover.         This purported “mass action” is a
    10   consumer class action in disguise, and is properly subject to removal under the Class
    11   Action Fairness Act (“CAFA”) and consolidation in the MDL.
    12            The parties were able to locate only a single case addressing a similar attempt
    13   at procedural manipulation in an MDL—Simon v. Marriott International, Inc., No.
    14   19-1792, 2019 WL 4573415 (D. Md. Sept. 20, 2019). As Plaintiffs ignore, the court
    15   in that case held that a plaintiff cannot pursue a lawsuit in state court consisting of
    16   claims that are already included in a suit removed under CAFA within an existing
    17   MDL by manipulating the allegations in the complaint to avoid federal jurisdiction
    18   under CAFA. This Court should come to the same conclusion here.
    19            In their “Motion to Remand to Superior Court of the State of California for
    20   the County of Orange and Request for Award of Attorneys Fees in the Amount of
    21   $19,005” (the “Motion to Remand” or “Motion”), Plaintiffs make no attempt to
    22   distinguish Marriott or call its reasoning into question. Sanders v. Kia America,
    23   Inc., Case No. 8:23-cv-00486 (C.D. Cal. Mar. 17, 2023), ECF No. 12. And despite
    24   contending that removal was “unwarranted and improper,” id. at 2, they fail to cite
    25   a single controlling case prohibiting removal in these circumstances.
    26
    27
         1
    28       “Plaintiffs” refers to the 116 named plaintiffs in the Sanders action.

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     1         Rather than engage with Defendants’ basis for removal, Plaintiffs argue that
     2   (1) removal is improper under the “mass action” provision of CAFA; and
     3   (2) Defendants cannot cite unpublished cases. Both arguments are meritless. First,
     4   as is apparent from Defendants’ Notice of Removal, Defendants did not remove this
     5   action under the “mass action” provision of CAFA; instead, Defendants removed
     6   this case as a class action under CAFA because Plaintiffs are included within several
     7   putative classes in cases consolidated in the MDL. Plaintiffs do not directly
     8   challenge this basis for removal. Second, Plaintiffs cite no authority for their
     9   contention that Defendants cannot cite unpublished cases—because none exists. As
    10   further discussed below, this Court properly has jurisdiction over this case under
    11   CAFA and should therefore deny Plaintiffs’ Motion.
    12                                    BACKGROUND
    13         On December 13, 2022, the U.S. Judicial Panel on Multidistrict Litigation (the
    14   “JPML”) created MDL No. 3052 in the Central District of California for suits by
    15   consumer plaintiffs who purchased or leased Kia and Hyundai branded vehicles that
    16   lack certain anti-theft technology, which those plaintiffs allege should have been
    17   standard. See In re Kia Hyundai Vehicle Theft Litig., 2022 WL 17843100, at *1
    18   (J.P.M.L. Dec. 13, 2022). As of the date of this filing, there are nearly 60 consumer
    19   actions currently centralized in MDL No. 3052 (the “MDL Actions”) before this
    20   Court. The overwhelming majority of the MDL Actions are putative consumer class
    21   actions (the “MDL Consumer Class Actions”). The MDL Consumer Class Actions
    22   have been brought by more than 150 named plaintiffs and assert claims on behalf of
    23   putative classes that include all purchasers or lessees of Kia and Hyundai branded
    24   vehicles that lack engine immobilizers nationwide.
    25         Plaintiffs’ counsel filed one of the MDL Consumer Class Actions,
    26   McQuarrie, in the Central District of California on September 21, 2022. See
    27   McQuarrie v. Kia America, Inc., Case No. 8:22-cv-01721 (C.D. Cal. Sept. 21, 2022).
    28

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     1   Attached hereto as Exhibit 1 is a copy of the complaint in McQuarrie. The
     2   McQuarrie complaint includes nine causes of action under California, Florida, and
     3   Nevada law, and is brought by plaintiffs who reside in Florida, Nevada, and
     4   California. Ex. 1, McQuarrie Compl. ¶¶ 7–9, 54–244. The McQuarrie plaintiffs
     5   seek to represent a nationwide class consisting of purchasers and lessees of Kia and
     6   Hyundai branded vehicles “equipped with traditional key ignition starter systems”
     7   and, alternatively, a “California Class” consisting of “all individuals and entities in
     8   California,” a “Nevada Class” consisting of “all individuals and entities in Nevada,”
     9   and a “Florida Class” consisting of “all individuals and entities in Florida.” Id.
    10   ¶¶ 39–42. McQuarrie was transferred to this Court as part of MDL No. 3052 on
    11   January 20, 2023. McQuarrie, Case No. 8:22-cv-01721 (C.D. Cal. Sept. 21, 2022),
    12   ECF No. 15.
    13         After the cases were consolidated in MDL No. 3052, the Court directed
    14   Plaintiffs’ Consumer Class Action Leadership Committee to file a consolidated
    15   amended complaint. See Dkt. 70. That Consolidated Amended Consumer Class
    16   Action Complaint (the “Consolidated Amended Complaint” or “CAC”) was filed on
    17   April 10, 2023. See Dkt. 84. The Consolidated Amended Complaint names 85
    18   Plaintiffs who purchased or leased vehicles in 30 states, including California, and
    19   asserts claims under the laws of all 50 states. CAC ¶¶ 37–1206, 1536–4817.
    20   Plaintiffs assert seven causes of action under California law, id. ¶¶ 1536–1658, and
    21   seek to represent a nationwide class as well as subclasses of consumers from all 50
    22   states, including California. Id. ¶¶ 1524–25, 1527.
    23         Plaintiffs filed this action in Orange County Superior Court on February 6,
    24   2023, after the cases were consolidated in MDL No. 3052. Sanders v. Kia America,
    25   Inc., Case No. 8:23-cv-00486 (C.D. Cal. Mar. 17, 2023), ECF No. 1, Ex. A.
    26   Attached hereto as Exhibit 2 is a copy of the complaint in Sanders. Plaintiffs’
    27   allegations are nearly identical to the allegations in the MDL Consumer Class
    28

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     1   Actions and the Consolidated Amended Complaint. Plaintiffs allege that certain Kia
     2   and Hyundai vehicles contain a purported defect that allows these vehicles to be
     3   stolen by third parties. See, e.g., Ex. 2, Sanders Compl. ¶¶ 1–5, 130–36. Based on
     4   these allegations, Plaintiffs assert five grounds for relief: (1) violations of the
     5   Consumer Legal Remedies Act (“CLRA”), Cal. Civ. Code §§ 1750 et seq. (Count I,
     6   id. ¶¶ 137–62), (2) strict liability – design defect (Count II, id. ¶¶ 163–70), (3) gross
     7   negligence (Count III, id. ¶¶ 171–82), (4) gross negligence – failure to recall (Count
     8   IV, id. ¶¶ 183–92), and (5) breach of implied warranty of merchantability (Count V,
     9   id. ¶¶ 193–201). In their prayer for relief, Plaintiffs seek a judgment against
    10   Defendants for, inter alia, compensatory damages, punitive damages, injunctive
    11   relief, and attorneys’ fees. Id. at 29–30.
    12         Plaintiffs’ claims are entirely subsumed within McQuarrie, numerous other
    13   MDL Consumer Class Actions, and the Consolidated Amended Complaint. Id.
    14   ¶¶ 137–201 (asserting claims for violations of the CLRA, strict liability – design
    15   defect, gross negligence, gross negligence – failure to recall, and breach of implied
    16   warranty of merchantability), with Ex. 1, McQuarrie Compl. ¶¶ 54–244 (asserting
    17   claims for, inter alia, violations of the CLRA, strict liability – design defect,
    18   negligence, and breach of implied warranty of merchantability on behalf of putative
    19   nationwide and California consumer classes), and CAC ¶¶ 1536–1658 (asserting
    20   claims for, inter alia, violations of the CLRA, California False Advertising Law, and
    21   California Unfair Competition law, breach of implied warranty of merchantability,
    22   fraud by omission and concealment, and unjust enrichment on behalf of, inter alia,
    23   putative nationwide and California consumer classes).2           Indeed, Plaintiffs are
    24   2
           In addition to the plaintiffs in the Consolidated Amended Complaint, the plaintiffs
    25   in seven individual MDL Consumer Class Actions seek to represent putative
         California subclasses of which Plaintiffs are members. See Yeghiaian v. Kia
    26   America, Inc., Case No. 8:22-cv-01440 (C.D. Cal. filed Aug. 3, 2022); Morrow v.
         Hyundai Motor America, Case No. 8:22-cv-01674 (C.D. Cal. filed Sept. 12, 2022);
    27   McQuarrie, Case No. 8:22-cv-01721 (C.D. Cal. filed Sept. 21, 2022); Lamons v. Kia
         America, Inc., Case No. 8:22-cv-01956 (C.D. Cal. filed Oct. 24, 2022); Lucas v. Kia
    28   America, Inc., Case No. 8:22-cv-02090 (C.D. Cal. filed Nov. 16, 2022); Winston v.

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  1   members of the California and nationwide putative classes defined in McQuarrie
  2   and the Consolidated Amended Complaint, for they, too, allege that they are
  3   California purchasers or lessees of 2011-2021 Kia vehicles or 2015-2021 Hyundai
  4   vehicles equipped with traditional key ignition starter systems and lacking engine
  5   immobilizers. See Ex. 2, Sanders Compl. ¶¶ 7–122; Ex. 1, McQuarrie Compl.
  6   ¶¶ 39, 41; CAC ¶¶ 1524–25, 1527. The only real difference is that, in Sanders,
  7   Plaintiffs do not seek to represent a class. Nonetheless, Plaintiffs are putative class
  8   members of several of the MDL Consumer Class Actions and the Consolidated
  9   Amended Complaint already before this Court.
 10                                      ARGUMENT
 11         A defendant may remove “any civil action brought in a State court of which
 12   the district courts of the United States have original jurisdiction.” 28 U.S.C.
 13   § 1441(a). Under the Class Action Fairness Act (“CAFA” or the “Act”), the district
 14   courts of the United States have original jurisdiction over any class action
 15   (i) involving a plaintiff class of 100 or more members; (ii) where at least one member
 16   of the plaintiff class is a citizen of a state different from any defendant (“minimal
 17   diversity”); and (iii) in which the matter in controversy exceeds (in the aggregate)
 18   the sum or value of $5,000,000, exclusive of interest and costs.           28 U.S.C.
 19   § 1332(d)(2), (5); see also 28 U.S.C. § 1453(b).3
 20         Although Plaintiffs’ counsel has not styled this action as a “class action,” as
 21   demonstrated below, that fact does not preclude removal under CAFA. To the
 22   contrary, the strong public policy embodied in CAFA that supports removal and
 23   centralization with the pending MDL in this circumstance militates in favor of
 24   looking past the four corners of the pleading (as several other courts have done under
 25
      Kia America, Inc., Case No. 8:22-cv-02329 (C.D. Cal. removed Dec. 29, 2022);
 26   Placencia v. Kia America, Case No. 8:23-cv-00139 (C.D. Cal. filed Jan. 23, 2023).
      3
 27     By demonstrating that this matter is removable under 28 U.S.C. § 1332(d),
      Defendants do not waive, and expressly reserve, their arguments that there is no
 28   basis to certify a class in this matter.

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  1   similar circumstances) to find that all three conditions of CAFA are met in this
  2   action, and therefore the action is removable under 28 U.S.C. § 1332(d).
  3         In their Motion to Remand, Plaintiffs do not dispute that the numerosity
  4   requirement of CAFA is established in this case.          Instead, Plaintiffs argue
  5   Defendants fail to meet CAFA’s minimal diversity and amount in controversy
  6   requirements. They are wrong.
  7   I.    Jurisdiction Exists Under CAFA Based on Claims Already Before This
  8         Court.
  9         CAFA was designed to create “a federal forum where [similar, overlapping
 10   class actions] could be coordinated and consolidated before one judge to promote
 11   judicial efficiency.” Bridewell-Sledge v. Blue Cross of California, 798 F.3d 923,
 12   932 (9th Cir. 2015). The Act is intended to “make[] it harder for plaintiffs’ counsel
 13   to ‘game the system’ by trying to defeat diversity jurisdiction, [and] create[]
 14   efficiencies in the judicial system by allowing overlapping and ‘copycat’ cases to be
 15   consolidated in a single federal court.” In re Textainer P’ship Sec. Litig., No. 05-
 16   0969, 2005 WL 1791559, at *4 (N.D. Cal. July 27, 2005) (quoting S. Rep. 109-14,
 17   at 5). The Supreme Court has made clear that CAFA’s “provisions should be read
 18   broadly,” evidencing a preference for federal jurisdiction where appropriate. Dart
 19   Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 89 (2014) (quoting S.
 20   Rep. 109-14, at 43).
 21         This is especially true in the MDL context.        The MDL procedure was
 22   established to avoid the “multiplied delay, confusion, conflict, inordinate expense
 23   and inefficiency” associated with litigating numerous related actions in isolated
 24   venues. In re Phenylpropanolamine (PPA) Prod. Liab. Litig., 460 F.3d 1217, 1230
 25   (9th Cir. 2006) (quoting In re Plumbing Fixture Cases, 298 F. Supp. 484, 495
 26   (J.P.M.L. 1968)). With an MDL, coordinated cases can “proceed toward resolution
 27   on the merits with less burden and expense overall than were each litigated through
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  1   pretrial individually.” Id. at 1229; see generally John T. McDermott, “The Judicial
  2   Panel on Multidistrict Litigation,” 57 F.R.D. 215, 217 (1973) (“Implicit in Section
  3   1407 is the assumption that the transferee judge will . . . establish a national unified
  4   discovery program to avoid delay, repetition and duplication and to insure that the
  5   litigation is processed as efficiently and economically as possible.”). The Ninth
  6   Circuit has observed that “multidistrict litigation is a special breed of complex
  7   litigation where the whole is bigger than the sum of its parts. The district court needs
  8   to have broad discretion to administer the proceeding as a whole, which necessarily
  9   includes keeping the parts in line.” In re Phenylpropanolamine (PPA) Prod. Liab.
 10   Litig., 460 F.3d at 1232.
 11         Courts have relied on CAFA’s broad reach to set aside artificial limitations on
 12   putative classes such as the one created by counsel in this case. For example, in
 13   Marriott, the plaintiffs, on behalf of themselves and others similarly situated, sought
 14   injunctive relief and monetary damages in Connecticut state court for claims arising
 15   out of a data breach incident that was the subject of an ongoing MDL in the United
 16   States District Court for the District of Maryland. 2019 WL 4573415, at *1. The
 17   plaintiffs’ counsel had intentionally manipulated the pleading to seem to fall outside
 18   the confines of CAFA and therefore avoid removal and inclusion in the MDL. Id.
 19   Nonetheless, Defendant Marriott removed the action, which was transferred to the
 20   District of Maryland where the MDL that subsumed the plaintiffs’ claims was
 21   already pending. Id. at *2. The plaintiffs moved to remand, arguing the court lacked
 22   subject matter jurisdiction because CAFA’s minimal diversity requirement was not
 23   met. Id.
 24         The Marriott court faced a closely analogous issue to what is presented here:
 25   “Can a class action plaintiff pursue a lawsuit in state court consisting of claims that
 26   already are included in a CAFA suit within an existing MDL by manipulating the
 27   allegations in their complaint to skirt the minimal diversity requirement of CAFA?”
 28

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  1   Id. at *3. The court answered in the negative, acknowledging that “both CAFA and
  2   MDL considerations warrant[ed] looking beyond the pleadings.” Id. at *4. Because
  3   the plaintiffs’ claims were “wholly included” in the other two class actions pending
  4   in the MDL, the court found that the plaintiffs’ attempt to plead around the minimal
  5   diversity requirement “defeat[ed] the purpose of CAFA by forcing litigation of the
  6   same claims, in both state and federal court.” Id.
  7          Accordingly, the Marriott court rejected the plaintiffs’ “transparent effort to
  8   avoid federal jurisdiction” in order to “recover from both their state court action and
  9   from the MDL” and denied the motion to remand. Id.; see also Tanoh v. Dow Chem.
 10   Co., 561 F.3d 945, 954 (9th Cir. 2009) (recognizing that “competing claims to
 11   represent the same class of plaintiffs might raise concerns that overlapping or
 12   identical claims would be litigated in multiple jurisdictions”); see also Freeman v.
 13   Blue Ridge Paper Prod., Inc., 551 F.3d 405, 407 (6th Cir. 2008) (“CAFA was clearly
 14   designed to prevent plaintiffs from artificially structuring their suits to avoid federal
 15   jurisdiction.”).
 16          The Marriott court reiterated that the “interest in fairness and efficiency is
 17   even stronger in the context of MDLs than in a stand-alone CAFA class action
 18   because MDLs combine multiple class (and individual) actions into one lawsuit for
 19   purposes of pretrial proceedings.” Marriott, 2019 WL 4573415, at *4. Thus, CAFA
 20   promotes federal jurisdiction where, as here, an MDL proceeding covering the same
 21   issues—and the same putative class members—is already underway. Id. (“Allowing
 22   [plaintiffs] to manipulate CAFA would be harmful . . . because it could disrupt the
 23   orderly progress of the pretrial process in the [] MDL.”).
 24          The court in In re Kitec Plumbing System Products Liability Litigation
 25   reached the same conclusion. No. 09-2098, 2010 WL 11618052 (N.D. Tex. Aug.
 26   23, 2010). In Kitec, while an MDL involving allegedly defective HVAC pipe was
 27   proceeding in Texas, residents of two small communities in Washington filed class
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  1   actions in state court asserting the same claims. Id. at *1. After the cases were
  2   removed to federal court and transferred to the MDL, the plaintiffs filed motions to
  3   remand on the basis that CAFA’s amount-in-controversy threshold was not met in
  4   their separate respective actions, as the plaintiffs had expressly stated in their
  5   complaints that damages would be less than $5 million. Id. at *2–4, 6.
  6         The MDL court denied the motions to remand. Id. at *8. Because the
  7   plaintiffs and putative class members were part of the larger MDL class, the court
  8   held it could “pierce the pleadings in order to determine the propriety of federal
  9   jurisdiction,” and look to the overlapping claims in the MDL class that were “already
 10   properly before th[e] Court.” Id. at *6. The court reasoned further that allowing the
 11   removed plaintiffs to proceed in state court would erode the judicial efficiencies
 12   created by the MDL and undermine CAFA’s aim of eliminating both gamesmanship
 13   and copycat actions. Id. at *6–7. The court observed that the MDL before it
 14   “implicate[d] [the] multistate or national interests” that CAFA was designed to
 15   protect, and the removed actions threatened to “create duplicative, overlapping or
 16   even identical litigation to [the MDL] if they were to be remanded.” Id. at *7.
 17         The reasoning in Marriott and Kitec applies with equal force here. Indeed,
 18   the MDL Consolidated Amended Complaint seeks certification of nationwide and
 19   California consumer classes that encompass Plaintiffs. And the individual MDL
 20   Consumer Class Actions in MDL No. 3052 seek certification of at least 7 putative
 21   California subclasses and 48 putative nationwide classes that also encompass
 22   Plaintiffs. For example, in McQuarrie, plaintiffs—again, represented by the same
 23   Plaintiffs’ counsel here—seek to represent a California class comprised of “all
 24   individuals and entities in California that purchased or leased a 2011-21 Kia vehicle
 25   or 2015-21 Hyundai vehicle equipped with traditional key ignition starter systems
 26   but which lack an engine immobilizer.” Ex. 1, McQuarrie Compl. ¶ 41. This Court
 27   may look past the artificial manner in which Plaintiffs have attempted to “divest[]
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  1   th[e] [MDL] court of jurisdiction it already has acquired.” Marriott, 2019 WL
  2   4573415, at *4.
  3          Moreover, as in Marriott and Kitec, allowing Plaintiffs to pursue their
  4   individual claims in a California state court runs counter to the aims of both CAFA
  5   and the MDL. Plaintiffs are pursuing the same damages arising from the same
  6   alleged events that are at issue in the MDL, and they are doing so on behalf of a
  7   subset of the same individuals whose interests are already being adjudicated in the
  8   MDL.
  9          Given CAFA’s broad reach, this Court should follow the Marriott and Kitec
 10   courts and look to the putative class members in the MDL Consumer Class Actions
 11   to establish minimal diversity and amount in controversy in this case.
 12          A.    The Parties Are Minimally Diverse.
 13          KA is a California corporation with its principal place of business in Irvine,
 14   California. See Ex. 2, Sanders Compl. ¶ 123. HMA is a California corporation with
 15   its principal place of business in Fountain Valley, California. Id. ¶ 124. Thus,
 16   Defendants are both citizens of California. See 28 U.S.C. § 1332(c)(1). Plaintiffs
 17   also reside in California. See Ex. 2, Sanders Compl. ¶¶ 7–122. Nonetheless, the
 18   minimal diversity requirement of CAFA is satisfied based on class allegations in
 19   other MDL Consumer Class Actions. For example, the McQuarrie plaintiffs seek
 20   to represent a “Nationwide Class,” “Nevada Class,” and “Florida Class,” in addition
 21   to a “California Class.” Ex. 1, McQuarrie Compl. ¶¶ 39–42. Further, the named
 22   proposed class representatives in McQuarrie reside in Florida, Nevada, and
 23   California. Id. ¶¶ 7–9. Accordingly, the minimal diversity requirement is satisfied
 24   because at least one member of the putative classes asserted in an MDL Consumer
 25   Class Action resides in a state other than California. See 28 U.S.C. § 1332(d)(2)(A);
 26   see also Rosas v. Carnegie Mortg., LLC, No. 11-7692, 2012 WL 1865480, at *5
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  1   (C.D. Cal. May 21, 2012) (“Because the complaint alleges a ‘nationwide class,’
  2   minimal diversity necessarily exists.”) (citations omitted).
  3         In their Motion to Remand, Plaintiffs argue that because “Plaintiffs are
  4   masters of the complaint,” Defendants cannot “bootstrap in the Plaintiffs from the
  5   class action cases [] in the MDL . . . to establish the ‘minimal diversity’”
  6   requirement. Mot. at 6–7 (capitalization omitted). Yet Plaintiffs do not cite a single
  7   case concerning the issue here: whether prospective class members can pursue a
  8   lawsuit in state court consisting of claims that already are included in a CAFA suit
  9   within an existing MDL by manipulating the allegations in their complaint to skirt
 10   the requirements of CAFA.
 11         Plaintiffs’ reliance on two cases that involve CAFA’s mass action provision,
 12   (28 U.S.C. § 1332(d)(11))—Duenas v. Dole Food Co., No. 09-215, 2009 WL
 13   666802 (C.D. Cal. Mar. 9, 2009), and Hampton v. Monsanto Co., No. 11-1662, 2011
 14   WL 5307835 (E.D. Mo. Nov. 3, 2011)—is misplaced. Defendants have not invoked
 15   the mass action provision of CAFA to remove this case; rather, Defendants have
 16   removed this action as “a consumer class action in disguise.” Sanders v. Kia
 17   America, Inc., Case No. 8:23-cv-00486 (C.D. Cal. Mar. 17, 2023), ECF No. 1, Not.
 18   of Removal at 4 (“Not. of Removal”). Accordingly, these cases do not support
 19   remand.
 20         Plaintiffs’ other cases are similarly inapposite. At most they support the
 21   general proposition that plaintiffs are the masters of their complaints, but they do not
 22   address the specific issues presented here. In Johnson v. Advance America, the court
 23   rejected the defendants’ attempt to “mischaracterize[]” the plaintiffs’ class definition
 24   in their complaint in order to establish the minimal diversity requirement in their
 25   removal. 549 F.3d 932, 936 (4th Cir. 2008). Defendants here make no such
 26   characterizations of terms within Plaintiffs’ complaint; rather, Defendants argue this
 27   Court should look outside of the four corners of Plaintiffs’ complaint to establish
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  1   federal jurisdiction. And in Brown v. MHN Government Services, Inc., the court
  2   granted plaintiffs’ motion to remand where the plaintiffs had expressly limited their
  3   damages to under $5,000,000 in order to avoid CAFA jurisdiction. No. 12-5513,
  4   2012 WL 3834963, at *1 (W.D. Wash. Sept. 4, 2012). Again, this is not the factual
  5   scenario here.
  6         Critically, neither of these cases arise in the MDL context, and they therefore
  7   lack any of the unique considerations now before this Court. Defendants do not
  8   dispute “the well-established rule that plaintiffs [are] masters of their complaint.”
  9   Tanoh, 561 F.3d at 953.4 But where, as here, “manipulat[ing] CAFA would be
 10   harmful . . . because it could disrupt the orderly progress of the pretrial process in
 11   [an ongoing] MDL,” courts are empowered to take necessary measures to prevent
 12   “[h]arm to putative class members and defendants.” Marriott, 2019 WL 4573415,
 13   at *4; see also Kitec, 2010 WL 11618052, at *7 (“The larger principle against
 14   litigating overlapping claims in multiple jurisdiction cautions against remand in this
 15   case.”); see also Freeman, 551 F.3d at 409 (“[W]here recovery is expanded, rather
 16   than limited, by virtue of splintering of lawsuits for no colorable reason, the total of
 17   such identical splintered lawsuits may be aggregated.”). Plaintiffs’ counsel cannot
 18   be permitted to multiply their potential recovery by litigating identical claims within
 19   the MDL and outside of it.
 20         Finally, Plaintiffs’ assertion that “[f]ederal [c]ourts have jurisdiction only
 21   where there is complete diversity,” (Mot. at 5 (quoting 28 U.S.C. § 1332(c)(1)),
 22   ignores the fact that “CAFA . . . requires only minimal diversity (instead of complete
 23   diversity).” Chambers v. Whirlpool Corp., 980 F.3d 645, 657 (9th Cir. 2020).
 24   Indeed, CAFA’s minimal diversity standard is satisfied when “any member of a class
 25   of plaintiffs is a citizen of a State different from any defendant.” 28 U.S.C.
 26   4
        Indeed, Plaintiffs’ counsel were “masters of their complaint” when they filed a
      multi-state class action complaint in federal court in September 2022, thereby
 27   invoking CAFA jurisdiction. Plaintiffs’ counsel should not be permitted to invoke
      both federal and state court jurisdiction for the same claims.
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  1   § 1332(d)(2)(A). Again, this requirement is satisfied here because at least one
  2   member of the putative classes asserted in the MDL Consumer Class Actions resides
  3   in a state other than California.
  4          B.     There Is at Least $5,000,000 in Controversy.
  5          “In measuring the amount in controversy, a court must assume that the
  6   allegations of the complaint are true and that a jury will return a verdict for the
  7   plaintiff on all claims made in the complaint.” Korn v. Polo Ralph Lauren Corp.,
  8   536 F. Supp. 2d 1199, 1205 (E.D. Cal. 2008). The court must then “add[] up the
  9   value of the claim of each person who falls within the definition of [the] proposed
 10   class.” Std. Fire Ins. Co. v. Knowles, 568 U.S. 588, 592 (2013).
 11          To satisfy the amount-in-controversy requirement, a defendant must establish
 12   only that “the potential damages could exceed the jurisdictional amount.” Rea v.
 13   Michaels Stores Inc., 742 F.3d 1234, 1239 (9th Cir. 2014) (emphasis added) (quoting
 14   Lewis v. Verizon Commc’ns, Inc., 627 F.3d 395, 397 (9th Cir. 2010)). In other
 15   words, “[t]he ultimate inquiry is what amount is put ‘in controversy’ by the
 16   plaintiff’s complaint, not what a defendant will actually owe.” Korn, 536 F. Supp.
 17   2d at 1205; see also, e.g., Greene v. Harley-Davidson, Inc., 965 F.3d 767, 772 (9th
 18   Cir. 2020) (“[T]he amount in controversy is the ‘amount at stake in the underlying
 19   litigation.’ ‘Amount at stake’ does not mean likely or probable liability; rather it
 20   refers to possible liability.”) (citations omitted).
 21          Because Plaintiffs are subsumed within numerous putative classes already in
 22   the MDL, including the classes in the Consolidated Amended Complaint (and the
 23   McQuarrie classes), and this action is structured solely to avoid CAFA jurisdiction,
 24   the Court may look to the amount placed in controversy in the MDL Consumer Class
 25   Actions, such as McQuarrie, to satisfy this requirement. See Marriott, 2019 WL
 26   4573415, at *1 (holding that damages could be aggregated across several actions in
 27   determining whether the court had jurisdiction under CAFA because there was no
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  1   colorable basis for separating plaintiffs); see also Freeman, 551 F. 3d at 407–08
  2   (similar); see also Kitec, 2010 WL 11618052, at *7 (similar).
  3         As an example, the amount placed in controversy in the McQuarrie complaint
  4   satisfies CAFA’s jurisdictional threshold. Plaintiffs allege that “tens of thousands”
  5   of vehicles contain the purported defect, and although Plaintiffs’ complaint does not
  6   specify a precise amount of damages, it alleges that those putative class vehicles
  7   have caused potentially “thousands or tens of thousands” of putative class members
  8   various damages, including “the difference in value” between a vehicle with the
  9   alleged defect and a similar vehicle without the alleged defect, “repairs to damaged
 10   vehicles,” the “replacement cost of stolen vehicles,” “the purchase price of security
 11   devices to prevent theft,” and “the increase in insurance premiums.”           Ex. 1,
 12   McQuarrie Compl. ¶¶ 44, 48, 190. Moreover, Plaintiffs also seek attorneys’ fees,
 13   which, in the consumer class action context, can be significant. See id. at 46; Wilson
 14   v. Airborne, Inc., No. 07-770, 2008 WL 3854963, at *12 (C.D. Cal. Aug. 13, 2008)
 15   (awarding $3,459,946 in attorneys’ fees in false advertising class action); In re Sony
 16   SXRD Rear Projection Television Class Action Litig., No. 06-5173, 2008 WL
 17   1956267, at *15–16 (S.D.N.Y. May 1, 2008) (finding $1.6 million in attorneys’ fees
 18   was reasonable in class action involving product defect).
 19         Given the existence of tens of thousands of putative class vehicles and class
 20   members, it is more than “reasonably possible” that there is at least $5,000,000 in
 21   controversy. Greene, 965 F.3d at 772. As such, the district courts of the United
 22   States have jurisdiction over this matter. See 28 U.S.C. § 1332(d)(2).
 23         Relying on Abrego Abrego v. The Dow Chemical Co., 443 F.3d 676 (9th Cir.
 24   2006), Plaintiffs claim that Defendants “completely ignore[]” the requirement under
 25   CAFA’s mass action provision “that at least one Plaintiff must have an amount in
 26   controversy of at least $75,000.” Mot. at 12–14.5 But Defendants did not remove
 27   5
       Plaintiffs also cite Tanoh, 561 F.3d 945, which again concerns CAFA’s mass action
      provision and is therefore inapposite. Mot. at 10.
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  1   this action pursuant to the mass action provision of CAFA. Though this action has
  2   been artfully styled as a mass tort action, Defendants maintain that it is a consumer
  3   class action in disguise. See Not. of Removal at 4. Therefore, Defendants need only
  4   establish that the amount in controversy exceeds (in the aggregate) the sum or value
  5   of $5,000,000, exclusive of interest and costs, which they have done. 28 U.S.C.
  6   § 1332(d)(2), (6).
  7         C.      There Are More Than 100 Members of the Putative Class.
  8         Although Plaintiffs do not challenge Defendants’ satisfaction of the
  9   numerosity requirement, there is no question that it is satisfied here because
 10   Plaintiffs are subsumed within numerous putative classes already in the MDL for
 11   which there are over 100 members.
 12   II.   Plaintiffs Are Not Entitled to Fees or Costs in Connection With Their
 13         Motion.
 14         For the foregoing reasons, the Court should deny Plaintiffs’ Motion to
 15   Remand, thereby mooting this request. But even if the Court grants the Motion,
 16   Plaintiffs are not entitled to fees in connection with the Motion.
 17         A Plaintiff opposing removal is entitled to attorneys’ fees or costs under 28
 18   U.S.C. § 1447(c) “only where the removing party lacked an objectively reasonable
 19   basis for seeking removal.” Martin v. Franklin Cap. Corp, 546 U.S. 132, 141
 20   (2005). “Conversely, when an objectively reasonable basis exists, fees should be
 21   denied.”     Id.   “[R]emoval is not objectively unreasonable solely because the
 22   removing party’s arguments lack merit.” Lussier v. Dollar Tree Stores, Inc., 518
 23   F.3d 1062, 1065 (9th Cir. 2008). Rather, removal is “objectively unreasonable”
 24   when relevant case law “clearly foreclose[s]” the removing party’s asserted basis for
 25   removal. Id. at 1066.
 26         Defendants had an objectively reasonable basis for removal here. Although
 27   Plaintiffs claim removal is improper because Defendants “attempt to bootstrap in the
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  1   . . . Plaintiffs from the class action cases already in the MDL” to establish CAFA’s
  2   minimal diversity and amount in controversy requirements, no controlling authority
  3   forecloses removal here,6 and the most analogous persuasive authority actually
  4   supports removal. See Mot. at 7, 11, 14. In removing this case, Defendants relied
  5   on the reasoning of the most closely analogous case they could locate—Marriott.
  6   Plaintiffs make no attempt to distinguish Marriott or to explain why Marriott does
  7   not provide an objectively reasonable basis for removal. Rather, Plaintiffs’ only
  8   rebuttal is the suggestion (without any support) that Defendants’ reliance on
  9   Marriott is improper because it is unpublished and not from this District. Mot. at 2,
 10   11. Plaintiffs are wrong. See Fed. R. App. P. 32.1 (stating that “[a] court may not
 11   prohibit or restrict the citation of federal judicial opinions, orders, judgments, or
 12   other written dispositions . . . designated as ‘unpublished,’” if they were “issued on
 13   or after January 1, 2007”); accord 9th Cir. R. 36-3. Although Marriott was
 14   unpublished, the court engaged in a thoughtful analysis of the various policy
 15   considerations at play. Plaintiffs have put forth no legitimate reason this Court
 16   should not rely on Marriott as persuasive authority.
 17         Accordingly, because there is no Ninth Circuit precedent that “clearly
 18   foreclosed” Defendants’ basis for removal, and indeed, the only relevant persuasive
 19   authority supports removal, Defendants’ removal of this action to federal court was
 20   not “objectively unreasonable.” Lussier, 518 F.3d at 1065, 1067. This Court should
 21   deny Plaintiffs’ request for fees and costs.
 22                                     CONCLUSION
 23         Defendants respectfully request that the Court deny Plaintiffs’ Motion to
 24   Remand as well as Plaintiffs’ request for fees and costs.
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 26   6
        In addition to the Ninth Circuit cases discussed above, Plaintiffs cite Grancare,
      LLC v. Thrower by & through Mills, 889 F.3d 543 (9th Cir. 2018), which concerned
 27   the standard for fraudulent joinder of a nondiverse defendant. Mot. at 4–5. That is
      not the issue here.
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  1                        CERTIFICATE OF COMPLIANCE
  2         The undersigned, counsel of record for Defendants, certifies that this brief
  3   contains 5,233 words, which complies with the word limit of L.R. 11-6.1.
  4
  5   DATED:      May 18, 2023              JENNER & BLOCK LLP
  6
                                      By:         /s/ Peter J. Brennan
  7                                                   Peter J. Brennan
  8
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